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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION



UNITED STATES OF AMERICA

vs                                               CASE NO. 3:05cr93/MCR

ROBERTO RAMIREZ
                                       /


                   JUDGMENT OF ACQUITTAL ON JURY VERDICT


       The above entitled cause came on for trial by a jury, and the jury having returned

a verdict of not guilty as to Count One, it is thereupon

       ORDERED and ADJUDGED that the defendant is not guilty of Count One as

charged in this cause.

       DONE and ORDERED at Pensacola, Florida, this 1st day of December, 2005.




                                                   s/   M. Casey Rodgers
                                                 M. CASEY RODGERS
                                                 UNITED STATES DISTRICT JUDGE
